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                                                                                                 E-FILED
                                                             Thursday, 08 December, 2005 01:13:24 PM
                                                                          Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF ILLINOIS
                                  SPRINGFIELD DIVISION


UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
               v.                                )            CRIMINAL NO. 05- 30088
                                                 )
ORVILLE A. ADAMS,                                )
                                                 )
                       Defendant.                )


                    GOVERNMENT’S NOTICE OF PRIOR CONVICTION

       The United States of America by its attorneys, Rodger A. Heaton, United States Attorney

for the Central District of Illinois, and Assistant United States Attorney Gregory M. Gilmore, file

the following notice of prior conviction, and in support thereof state:

       The defendant was convicted of unlawful possession with the intent to deliver a

controlled substance in Adams County, Illinois on November 13, 2002, in case number

02-CF-436, and received a sentence of four and a half years to the Illinois Department of

Corrections.

                                              Respectfully submitted,

                                              RODGER A. HEATON
                                              UNITED STATES ATTORNEY


                                               s/ Gregory M. Gilmore
                                              Gregory M. Gilmore, Reg. No. 06217499
                                              U.S. Attorney’s Office
                                              318 South 6th Street
                                              Springfield, IL 62701
                                              Telephone: 217/492-4450
                                              greg.gilmore@usdoj.gov
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                                CERTIFICATE OF SERVICE


       I hereby certify that on December 8, 2005, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to the
following:



                              Douglas J. Beevers
                              Assistant Federal Public Defender
                              600 E. Adams
                              2nd Floor
                              Springfield, IL 62701



                                                     s/ Gregory M. Gilmore




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